            Case 5:11-cr-00313-OLG Document 53 Filed 03/05/13 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                                                                                F IL E D
                              WESTERN DISTRICT OF TEXAS
                                                                              MAR   0 5 2013
                                                                      CLERK, U.S. DIS1R OURI
                                  SAN ANTONIO DIVISION                WESTERN DISTRvTp TEXAS

UNITED STATES OF AMERICA                                                                  _v_t
                                                   §
                                                   §
V.                                                 §       SA-11-CR-313-OLG
                                                   §
ROBERT RICHARD RHODES                              §


                  AGREED ORDER REVOKING SUPERVISED RELEASE

       On this day came on to be considered the January 10, 2013, petition to revoke the

Defendant's supervised release (Doe. 41), as augmented herein. The parties and probation office,

whose signatures appear below, have proposed a resolution of this matter, with which the Court

concurs, supported by the following findings.

                                           A. History

       1.   Background through probation revocation. On October, 2011, the Court sentenced the

Defendant. The Defendant served a 12 month sentence, and began supervised release on March 30,

2012. On or about April 2, 2012, Defendant's conditions of supervised release were modified

recommending placement at the Austin Transitional Center RRC for 180 days. Defendant did not

have any family or financial support. On or about October 1, 2012, Defendant's conditions of

supervised release were again modified to recommend placement at Austin Transitional Center for

180 days due to the Defendant no having any family or financial support. On or about October 30,

2012, Defendant admitted to use of K2 (synthetic marijuana) and drinking a shot of vodka with

another resident at the Austin Transitional Center RRC. The United States Probation Office

recommended no action and the Court agreed. On or about December 27, 2012, Defendant was in

possession of a phone with internet service and a camera with video, which is not authorized by
            Case 5:11-cr-00313-OLG Document 53 Filed 03/05/13 Page 2 of 4




Austin Transitional RRC. Upon review of Defendant's phone there were images of minors and

several pornographic sites.

       2. Violations of supervised release. The Court notes that the Defendant acknowledges and

admits to the allegations in the petition filed on January 10, 2013.

       3.   Defendant's acknowledgments. The Defendant acknowledges that (1) upon revocation

of his supervised release, the Court could assess imprisonment up to a statutory maximum of 2 years,

consecutive to any other sentence already imposed upon him, plus reimposed supervised release and

payment of any unsatisfied monetary sanction previously imposed; (2) the parties project his

nonbinding revocation policy-statement imprisonment range to be 3-9 months; (3) at a hearing

where he may contest and present evidence, the United States bears the burden of proving charged

violations of supervised release by a preponderance of the evidence; (4) he admits committing

misconduct summarized above and in the revocation petition; and (5) the United States could prove

such misconduct by a preponderance of the evidence.

        4. Defendant's waiver of rights. Through their signatures below, the Defendant and his

attorney specifically assert, and the Court finds, that the Defendanthaving read and understood this

Order and the revocation petition, having thoroughly discussed them with his attorney, and having

agreed to the terms of this Ordervoluntarily, knowingly, and intelligently; (1) waives his rights

under the CONSTITUTION,       FED.   R. CRIM.   P.   32.1(b)(2), and 43, 18 U.S.C.   §   3583(e)(3), and/or

otherwise to be present and participating with his lawyer at a proceeding at which the Defendant's

supervised release is revoked and he is resentenced, as accomplished by this Order; (2) waives his

rights through any means to appeal, challenge, modify, or seek any reduction in revocation

punishment assessed by, this Order (unless the Defendant proves prejudice from errors of

constitutional magnitude involving ineffective assistance of his counsel or prosecutorial
             Case 5:11-cr-00313-OLG Document 53 Filed 03/05/13 Page 3 of 4




misconduct); and (3) requests that the Court enter this Order forthwith without the necessity of any

further hearing or appearance by the Defendant or his counsel.

                                                B. Order

       In view of the foregoing, based on the Defendant's admitted violations of his supervised

release, for which there is an adequate factual basis as summarized above in the revocation petition,

the Court finds, determines, and orders that:

        1.   The Defendant's supervised release is revoked pursuant to 18 U.S.C.     §   3583(e)(3).

       2. The Defendant is remanded to the custody         of the United States Bureau of Prison (BOP)

for Eighteen (18) months of imprisonment in a jail-type facility and not a halfway house or like

facility; without credit for time spent on post-release supervision; and consecutive to any other

sentence or revocation, state or federal, already imposed upon the Defendant at the time this Order

is filed. No further supervised release is to follow in this case.

        3. The Defendant having been incarcerated from January 11, 2013, to the present is granted

credit for the time awaiting disposition in this case.

       4.      The Court recommends that the Defendant be designated as close to Tulsa, Oklahoma

as possible.

        5. Any monetary     sanctions imposed in this case that remain unpaid are reimposed, and such

sanctions shall be due and payable immediately.

        SO ORDERED on this the            day of February, 2013.




                                                ORLANDO L. GARCIA
                                                United States District Judge
             Case 5:11-cr-00313-OLG Document 53 Filed 03/05/13 Page 4 of 4




   UNDERSTOOD AND AGREED TO IN EVERY RESPECT:




   ROBERT RICHA           RHODES                         IYate       /
   Defendant


  I
   KURT G. MAY                                           Date
   Assistant Federal Public Defender
   Counsel for Defendant




(L.-MATT MOORING
   United States
                          /
                   Probi' Officer
                      /
                                                         Date




   FRANCISCd k PERALTA                                   Date
   Supervising United States Probation Officer


             (                        4;                 -3      I   -2
   TRACY THOMPSON/                                       Date
   Assistant United States Attorney
   Counsel for Plaintiff
